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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


SAAD ALJABRI,

                Plaintiff,

        v.                                             Civil Action No. 20-2146 (TJK)
MOHAMMED BIN SALMAN BIN
ABDULAZIZ AL SAUD et al.,

                Defendants.


                                              ORDER

        Upon consideration of Plaintiff’s Response to the Court’s October 3, 2022, Show Cause

Order, ECF No. 135, it is hereby ORDERED that Defendant Bijad Alharbi is DISMISSED under

Fed. R. Civ. P. 4(m) due to Plaintiff’s failure to timely effect service. In light of the Court’s Order

granting the remaining Defendants’ Motions to Dismiss, ECF No. 133, it is hereby ORDERED

that this case is DISMISSED in its entirety. This is a final, appealable Order. The Clerk of Court

is directed to close the case.


        SO ORDERED.




                                                               /s/ Timothy J. Kelly
                                                               TIMOTHY J. KELLY
                                                               United States District Judge

Date: October 19, 2022
